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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


UNITED STATES OF AMERICA

v                                               CASE NO. 3:09cr28/MCR

DAISY MARIA MACHIGUA
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                  JUDGMENT OF ACQUITTAL ON JURY VERDICT

      Based on the jury’s verdict of not guilty as to this defendant on Count II following

a trial on June 3, 2009, the defendant DAISY MARIA MACHIGUA is hereby

ADJUDGED NOT GUILTY of the charge in Count II and this charge is DISMISSED.

      DONE and ORDERED at Pensacola, Florida, this 5th day of June, 2009.


                                          s   / M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITES STATES DISTRICT JUDGE
